■»*«*
        CASE NUMBER: 502022CA009847XXXXMB Div: AD ****
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        Filing# 158664542 E-Filcd 10/05/2022 08:03:07 PM



                FORM 1.997.        CIVIL COVER SHEET

                The civil cover sheet and the information contained in it neither replace nor supplement the filing
                and service of pleadings or other documents as required by law. This form must be filed by the
                plaintiff or petitioner with the Clerk of Court for the purpose of reporting uniform data pursuant
                to section 25.075. Florida Statutes. (See instructions for completion.)


                        I.       CASE STYLE




                                                                                         PY
                             IN THE CIRCUIT/COUNTY COURT OF THE FIFTEENTH JUDICIAL CIRCUIT.
                                      IN AND FOR PALM BEACH COUNTY. FLORIDA




                                                                                       CO
                KWAMAIN ONEAL
                Plaintiff                                                                Case #
                                                                                         Judge
                vs.




                                                                               D
               JOHN VANDERLAAN. CITY OF RIVIERA BEACH
                Defendant
                                                                        IE
                                                                 IF
                         II.     AMOUNT OF CLAIM
               Please indicate the estimated amount of the claim, rounded to the nearest dollar. The estimated amount of
                                                       RT

               the claim is requested for data collection and clerical processing purposes only. The amount of the claim
               shall not be used for any other purpose.
                                              CE



                □ S8.000 or less
                □ $8,001 - $30,000
                □ $30,001- $50,000
                                      A




                □ $50.001-$75,000
                □ $75,001 -$100,000
                                T




                E over $100,000.00
                             O




                        III.    TYPE OF CASE           (If the case fits more than one type of case, select the most
                definitive category.) If the most descriptive label is a subcategory (is indented under a broader
                     N




                category), place an x on both the main category and subcategory lines.




                                                                  -1-

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  CIRCUIT CIVIL

  □ Condominium
  □ Contracts and indebtedness
  □ Eminent domain
  □ Auto negligence
  ^ Negligence—other
         □ Business governance
          ] Business torts
         □ Environmental.Toxic tort
         0 Third party indemnification




                                                               PY
         n Construction defect
         □ Mass tort
         □ Negligent security




                                                             CO
         □ Nursing home negligence
         □ Premises liability commercial
            Premises liability—residential
    Products liability




                                                           D
  □ Real Property/Mortgage foreclosure
        □ Commercial foreclosure
        □ Homestead residential foreclosure
        □ Non-homestead residential foreclosure
                                                        IE
        Z Other real property actions
                                                  IF
  □Professional malpractice
                                       RT

         L Malpractice—business
         □ Malpractice—medical
         □ Malpractice—other professional
                             CE



  □ Other
         n Antitrust/Trade regulation
         U Business transactions
         □ Constitutional challenge—statute or ordinance
                      A




         □ Constitutional challenge—proposed amendment
         □ Corporate trusts
                T




          1 Discrimination mployment or other
         J Insurance claims
             O




         □ Intellectual property
      N




         □ Libel/Slander
         □ Shareholder derivative action
         D Securities litigation
            Trade secrets
         □ Trust litigation

  COUNTY CIVIL

   □ Small Claims up to $8,000
   □ Civil
   □ Real property/Mortgage foreclosure

                                                  -2-
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   □ Replevins
   □ Evictions
          □ Residential Evictions
          □ Non-residential Evictions
   □ Other civil (non-monctary)

                                        COMPLEX BUSINESS COURT

  This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
  Administrative Order. Yes □ No 0




                                                                          PY
           IV.    REMEDIES SOUGHT (check all that apply):
           K) Monetary;




                                                                        CO
           □ Nonmonetary declaratory or injunctive relief;
           Kl Punitive

           V.     NUMBER OF CAUSES OF ACTION: [ ]




                                                                 D
           (Specify)

             3                                            IE
                   IS THIS CASE A CLASS ACTION LAWSUIT?
                                                   IF
           VI.
                   □ yes
                   S no
                                         RT


           VII.    HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
                   53 no
                                CE



                   □ yes If "yes." list all related cases by name, case number, and court.

           VIII.   IS JURY TRIAL DEMANDED IN COMPLAINT?
                         A




                   K! yes
                   □ no
                   T




           IX.     DOES THIS CASE INVOLVE ALLEGATIONS OF SEXUAL ABUSE?
            O




                   □ yes
       N




                   53 no


   I CERTIFY that the information I have provided in this cover sheet is accurate to the best of
   my knowledge and belief, and that I have read and will comply with the requirements of
   Florida Rule of Judicial Administration 2.425.

   Signature: s/ Zcdrick Barber II                         Fla. Bar# 110326
                  Attorney or party                                      (Bar # if attorney)

 Zedrick Barber II                                 10/05/2022
  (type or print name)                             Date

                                                   -3-
